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                                                                Apr 07 2023
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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13   UNITED STATES OF AMERICA,                        )   CASE NO. 19-CR-272-JSW
                                                      )
14           Plaintiff,                               )   STIPULATION AND ORDER TO CONTINUE
                                                      )   STATUS HEARING REGARDING
15      v.                                            )   PRELIMINARY REVOCATION AND DETENTION
                                                      )
16   RICHARD HARDMAN,                                 )
                                                      )
17           Defendant.                               )
                                                      )
18

19           The United States Probation Office has alleged that supervised releasee Richard Hardman
20 violated the conditions of his release by, among other things, possessing firearms. ECF No. 39. This

21 case is currently set for a status hearing regarding detention and a preliminary hearing for the revocation

22 proceeding at 10:30 am on April 10, 2023. Hardman is currently in custody and housed at Santa Rita

23 Jail.

24           In order to allow for additional time for counsel to confer with United States Probation about
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     STIPULATION AND ORDER                            1
     19-CR-272-JSW
               Case 4:19-cr-00272-JSW Document 45 Filed 04/07/23 Page 2 of 2




 1 possible resolutions, the parties respectfully request that the status hearing be continued to 10:30 am on

 2 Thursday, April 13, 2023.

 3
     DATED: April 7, 2023                                           /s/                  ___
 4                                                         Ajay Krishnamurthy
                                                           Assistant United States Attorney
 5

 6 DATED: April 7, 2023                                             /s/                ___
                                                           John Paul Reichmuth
 7                                                         Counsel for Defendant Richard Hardman

 8
                                                    ORDER
 9
            Based upon the facts set forth in the stipulation of the parties, the Court finds that there exists
10
     good cause to continue the status hearing currently set for April 10, 2023. Therefore, the hearing is
11
     continued to 10:30 a.m. on April 13, 2023.                                   S DISTRICT
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            IT IS SO ORDERED.                                                 IT IS S




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15                                                                                     on
                                                                               Judge D




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     DATED: April 7, 2023



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                                                                   Hon. EDonna
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16                                                                        RN
                                                                   Chief United   States
                                                                             D IS T
                                                                                    R I C TMagistrate Judge
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     STIPULATION AND ORDER                             2
     19-CR-272-JSW
